              Case 2:23-cv-01495-JHC Document 31 Filed 10/17/23 Page 1 of 2




 1                                                                     HONORABLE JOHN H. CHUN

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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
     FEDERAL TRADE COMMISSION, STATE
 9   OF NEW YORK, STATE OF                             NO. 2:23-cv-01495-JHC
     CONNECTICUT, COMMONWEALTH OF
10   PENNSYLVANIA, STATE OF
     DELAWARE, STATE OF MAINE, STATE
11
     OF MARYLAND, COMMONWEALTH OF                      MOTION FOR LIMITED INTERVENTION BY
12   MASSACHUSETTS, STATE OF                           WALMART
     MICHIGAN, STATE OF MINNESOTA,
13   STATE OF NEVADA, STATE OF NEW                     NOTE ON MOTION CALENDAR:
     HAMPSHIRE, STATE OF NEW JERSEY,                   October 17, 2023
14   STATE OF NEW MEXICO, STATE OF
15   OKLAHOMA, STATE OF OREGON,
     STATE OF RHODE ISLAND, and STATE
16   OF WISCONSIN,

17                         Plaintiffs,

18              v.

19   AMAZON.COM, INC., a corporation,
20                         Defendant.
21

22          Non-party Walmart respectfully requests that the Court allow it to intervene in this action

23   under Federal Rules of Civil Procedure Rule 24(b) for the limited purpose of filing a motion to

24   permanently seal parts of the Complaint in accordance with the Court’s October 6, 2023 Order

25   instructing that producing parties shall file any such motion no later than October 27, 2023. Dkt.

26   #19. Walmart met and conferred with the Federal Trade Commission (“FTC”) and Amazon, Inc. to



     MOTION FOR LIMITED INTERVENTION BY WALMART - 1                                    LAW OFFICES
                                                                       HARRIGAN LEYH FARMER & THOMSEN LLP
     (Case No. 2:23-cv-01495-JHC)                                             999 THIRD AVENUE, SUITE 4400
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                   Case 2:23-cv-01495-JHC Document 31 Filed 10/17/23 Page 2 of 2




 1   seek consent to this motion. The FTC and Amazon do not oppose this motion.

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 3              DATED this 17th day of October, 2023.
 4
                                                          HARRIGAN LEYH FARMER & THOMSEN LLP
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 6
                                                          By: s/Tyler L. Famer                                                   ∗

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         I certify that this memorandum contains 91 words, in compliance with the Local Civil Rules.
     MOTION FOR LIMITED INTERVENTION BY WALMART - 2                                                  LAW OFFICES
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